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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


UNITED STATES OF AMERICA,
                                                          MEMORANDUM DECISION AND
                       Plaintiff,                           ORDER GRANTING EARLY
                                                          TERMINATION OF SUPERVISED
v.                                                                RELEASE

NOAH SIFUENTES,                                                 Case No. 2:08CR671DAK

                       Defendant.                                 Judge Dale A. Kimball




       This matter is before the court on Defendant Noah Sifuentes’ motion for early termination

of supervised release. On August 20, 2010, the court sentenced Defendant to 21 months

incarceration with the United States Bureau of Prisons followed by a 36-month term of

supervised release. Defendant was released from custody and began serving his term of

supervised release on May 3, 2012. Therefore, Defendant’s term of supervised release is not

scheduled to terminate until May 3, 2015.

       Pursuant to 18 U.S.C. § 3583(e)(1), after considering the factors set forth in Section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), and (a)(6), the court may terminate a

term of supervised release “at any time after the expiration of one year of supervised release . . .

if it is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice.” The factors to be considered in Section 3553(a) are those factors to be

considered in imposing a sentence, including “the nature and circumstances of the offense and
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the history and characteristics of the defendant,” the applicable sentencing guidelines and any

policy statements issued by the Sentencing Commission, and the need for the sentence imposed

to promote respect for the law, to provide just punishment, to deter other criminal conduct, and to

provide the defendant with needed services. See 18 U.S.C. § 3553(a).

       The court has contacted Defendant’s probation officer and has learned that he does not

oppose early termination. Defendant has complied with all the terms of his supervised release

and, according to his probation officer, has already been moved to low intensity supervision.

Defendant seeks early termination so that he can engage in business opportunities internationally.

Defendant’s letter to the court states that he has turned his life around. Based on Defendant’s

conduct during his term of supervised release, the court finds that an early termination of

supervised release is warranted. Accordingly, the court grants Defendant’s motion for early

termination of supervised release.

       DATED this 3rd day of May, 2013.

                                              BY THE COURT:




                                              DALE A. KIMBALL
                                              United States District Judge




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